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U.S. DISTRICT COURT
Eastem District of Washington
DEC -5 199
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

ONETED SAWS OF AMERICA C R- 96-258- WFN

INDICTMENT

Plaintiff,
Vio: 18 U.S.C. § 371
vs. Conspiracy (Ct 1)
VERNE JAY MERRELL, aka Jay
Merrell, aka Thomas C.
James, aka Carl Avery

18 U.S.C. § 844(i)
Destruction of Building
Used in Interstate

Martell, Commerce (Cts 2 & 6)
CHARLES HARRISON BARBEE}
and 18 U.S.C. § 924(c)

ROBERT SHERMAN BERRY, aka
Jim Preston,

Use of Firearm During
Crime of Violence
(Cts 3, 5, 7, & 9)
Defendants. 18 U.S.C. § 2113(a) & (da)
Armed Bank Robbery

(Cts 4 & 8)

18 U.S.C. § 2312
Interstate Transportation
of Stolen Motor Vehicle
(Cts 10 & 11)

26 U.S.C. § 5861(d)
Possession of
Unregistered Grenades
(Ce. 12)

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The Grand Jury Charges:

INDICTMENT - 1
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. Case 2:96-Cr-00258-V\idalN ECF No. 22 _ filed 12/05/96 aage!D.452 Page 3 of 10

CONSPIRACY
COUNT 1
Beginning on a date unknown to the Grand Jury, but by on or

about May 2, 1995, and continuing through on or about October 8,

1996, in the District of Idaho, District of Oregon, Western

District of Washington, and the Eastern District of Washington,

VERNE JAY MERRELL, aka Jay Merrell, aka Thomas C. James, aka Carl

Avery Martell, CHARLES HARRISON BARBEE, and ROBERT SHERMAN BERRY,

aka Jim Preston, did knowingly combine, conspire, confederate and

agreed together and with each other, and with other persons both
known and unknown to the Grand Jury, to commit offenses against the

United States, to wit: to commit the crimes in counts 2 through 12

herein, in violation of 18 U.S.C. §§ 844(i), 924(c), 2113(a) and

(d), 2312, and 26 U.S.C. § 5861(d). In furtherance of the

conspiracy and to effect the objects of the conspiracy, certain

overt acts were committed in the Eastern District of Washington and
elsewhere, to wit, overt acts including, but not limited to:

1. Those acts contained in counts 2 through 12 of this indictment
which are incorporated herein by this reference;

2. On or about May 2, 1995, the possession by CHARLES HARRISON
BARBEE, and ROBERT SHERMAN BERRY, aka Jim Preston, of: a SWD,
Cobray, M-11, 9mm pistol, serial number XX-XXXXXXX, fully
loaded with one round in the chamber with a_ silencer;
Washington State license plates "945FMY and 659FSV" registered
to vehicles owned by Avis Rent A Car, doing business as P.V.
Holding Corporation, Spokane Enternational Airport, Spokane,

Washington; two camouflage military flak jackets; military

INDICTMENT - 2
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- Case 2:96-Cr-00258-VeieN\| ECF No. 22 _ filed 12/05/96 fa@ge!D.453 Page 4 of 10

night vision goggles; and a note pad, on one page of which was
written, "things to do 1. check out vehicles (sic) keys and
plates 2. scanner 3. where to park sub 4. gloves 5. change
plates on sub 6. emergency phone #'s 7. route out 8. Govt.
plates".

The mailing, on or about September 6, 1996, of letters to the
Spokesman Review and U.S. Bank with a return address of
"Phinehas". The letters read, "Your gods are paper. $100,000
of them are no match for Yahweh. (Obadiah 18) Publicly rescind
your bounty and declare your gods powerless or those who
worship at your alter (sic) will suffer His wrath. cc:
Spokesman Review".

The mailing, on or about September 6, 1996, of a letter
addressed to "Director: Planned Parenthood, 20 South Pines,
Spokane, Washington", having a return address of "Phinehas".
The letter read, "So sorry to have missed you July 12, and you
missed the note about Psalm 139. Will do better next time.
Halleluyah! (sic) (Praise ye Yah)."

On or about September 20, 1996, the theft of a 1996 Chevrolet
Suburban and a 1996 GMC Sierra Club Coupe pickup from Herning
Pontiac, Cadillac, GMC Inc. Pocatello, Idaho;

On or about October 8, 1996, VERNE JAY MERRELL, aka Jay
Merrell, aka Thomas C. James, aka Carl Avery Martell, CHARLES
HARRISON BARBEE, and ROBERT SHERMAN BERRY, aka Jim Preston
travelled from Sandpoint, Idaho to Portland, Oregon in a

failed robbery attempt of the U.S. Bank in Portland, Oregon;

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7. On or about October 8, 1996, the mailing of a letter from
Portland, Oregon to the Spokesman-Review;

8. On or about October 8, 1996, the possession by ROBERT SHERMAN
BERRY, aka Jim Preston of a PWA 223 machine gun;

9. The possession by VERNE JAY MERRELL, aka Jay Merrell, aka
Thomas C. James, aka Carl Avery Martell of a machine gun later
found in his home on or about October 10, 1996; and

10. The possession by CHARLES HARRISON BARBEE of grenades later
found in his home on or about October 9, 1996;

' All in violation of 18 U.S.C. § 371.

APRIL 1, 1996
COUNT 2
On or about April 1, 1996, in the Eastern District of
Washington, VERNE JAY MERRELL, aka Jay Merrell, aka Thomas C.
James, aka Carl Avery Martell, CHARLES HARRISON BARBEE, and ROBERT
SHERMAN BERRY, aka Jim Preston, maliciously damaged and destroyed,
by means of fire and explosive materials, the Spokesman Review
Office building located at 13208 East Sprague Avenue, Spokane,
Washington, used in and affecting interstate commerce, in violation
of 18 U.S.C. § 844(i).
COUNT 3
That on or about April 1, 1996, in the Eastern District of
Washington, VERNE JAY MERRELL, aka Jay Merrell, aka Thomas C.
James, aka Carl Avery Martell, CHARLES HARRISON BARBEE, and ROBERT
SHERMAN BERRY, aka Jim Preston, did knowingly and willfully use and

carry a firearm that is a destructive deviee (a pipe bomb), during

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- Case 2:96-cr-00258-Vill@N ECF No. 22 filed 12/05/96 faagelD.455 Page 6 of 10

and in relation to a crime of violence, to wit, malicious
destruction of property in interstate commerce, to wit, the
Spokesman Review Office building, located at 13208 East Sprague
Avenue, Spokane, Washington, in violation of 18 U.S.C. § 844(i),
all in violation of 18 U.S.C. § 924(c) (1).
COUNT 4

That on or about April 1, 1996, in the Eastern District of
Washington, VERNE JAY MERRELL, aka Jay Merrell, aka Thomas C.
James, aka Carl Avery Martell, CHARLES HARRISON BARBEE, and ROBERT
SHERMAN BERRY, aka Jim Preston, -by force, violence, and by
intimidation, did take from the person and presence of another,
approximately $72,000 of money belonging to and in the care,
custody, control, management and possession of U. S. Bank, located
at 9208 East Sprague, Spokane, Washington, the deposits of which
were then insured by the Federal Deposit Insurance Corporation, and
in committing such offense, VERNE JAY MERRELL, aka Jay Merrell, aka
Thomas C. James, aka Carl Avery Martell, CHARLES HARRISON BARBEE,
and ROBERT SHERMAN BERRY, aka Jim Preston, did assault and put in
jeopardy the life of another person by the use of dangerous
weapons, to wit, a destructive device (a pipe bomb) and firearms,
all in violation of 18 U.S.C. § 2113(a) and (d).

COUNT 5

That on or about April 1, 1996, in the Eastern District of
Washington, VERNE JAY MERRELL, aka Jay Merrell, aka Thomas C.
James, aka Carl Avery Martell, CHARLES HARRISON BARBEE, and ROBERT
SHERMAN BERRY, aka Jim Preston, dig knowingly and willfully use and

carry a firearm that is a destructive device (a pipe bomb), during

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. Case 2:96-Cr-00258-VyéleNN ECF No. 22 _ filed 12/05/96 fa@age|D.456 Page 7 of 10

and in relation to a crime of violence, to wit, armed bank robbery
of the U. S. Bank, located at 9208 East Sprague, Spokane,
Washington, in violation of 18 U.S.C. § 2113(a), all in violation

of 18 U.S.C. § 924(c) (1).

JULY 12, 1996
COUNT 6

On or about July 12, 1996, in the Eastern District of
Washington, VERNE JAY MERRELL, aka Jay Merrell, aka Thomas C.
James, aka Carl Avery Martell, CHARLES HARRISON BARBEE, and ROBERT
SHERMAN BERRY, aka Jim Preston, maliciously damaged and destroyed,
by means of fire and explosive materials, the Planned Parenthood
Clinic building located at South 20 Pines, Spokane, Washington,
used in and affecting interstate commerce, in violation of 18
U.S.C. § 844(i).

COUNT 7

That on or about July 12, 1996, in the Eastern District of
Washington, VERNE JAY MERRELL, aka Jay Merrell, aka Thomas C.
James, aka Carl Avery Martell, CHARLES HARRISON BARBEE, ROBERT
SHERMAN BERRY, aka Jim Preston, did knowingly and willfully use and
carry a firearm that is a destructive device (a pipe bomb), during
and in relation to a crime of violence, to wit, malicious
destruction of property in interstate commerce, to wit, the Planned
Parenthood Clinic, located at South 20 Pines, Spokane, Washington,
in violation of 18 U.S.C. § 844(i), all in violation of 18 U.S.C.

§ 924(c) (1).

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COUNT 8

That on or about July 12, 1996, in the Eastern District of
Washington, VERNE JAY MERRELL, aka Jay Merrell, aka Thomas C.
James, aka Carl Avery Martell, CHARLES HARRISON BARBEE, and ROBERT
SHERMAN BERRY, aka Jim Preston, by force, violence, and by
intimidation, did take from the person and presence of another,
approximately $36,666 of money belonging to and in the care,
custody, control, management and possession of U. S. Bank, located
at 9208 East Sprague, Spokane, Washington, the deposits of which
were then insured by the Federal Deposit Insurance Corporation, and
in committing such offense, VERNE JAY MERRELL, aka Jay Merrell, aka
Thomas C. James, aka Carl Avery Martell, CHARLES HARRISON BARBEE,
and ROBERT SHERMAN BERRY, aka Jim Preston, did assault and put in
jeopardy the life of another person by the use of dangerous
weapons, to wit, firearms, all in violation of 18 U.S.C. § 2113(a)
and (d).

COUNT 9

That on or about July 12, 1996, in the Eastern District of
Washington, VERNE JAY MERRELL, aka Jay Merrell, aka Thomas C.
James, aka Carl Avery Martell, CHARLES HARRISON BARBEE, and ROBERT
SHERMAN BERRY, aka Jim Preston, did knowingly and willfully use and
carry firearms, during and in relation to a crime of violence, to
wit, armed bank robbery of the U. S. Bank, located at 9208 East
Sprague, Spokane, Washington, in violation of 18 U.S.C. § 2113(d),

all in violation of 18 U.S.C. § 924(c) (1).

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. Case 2:96-Cr-00258-V\edmlN ECF No. 22 _ filed 12/05/96 faye |D.458 Page 9 of 10

OCTOBER 8, 1996
COUNT 10
On or about October 8, 1996, in the Eastern District of
Washington and elsewhere, VERNE JAY MERRELL, aka Jay Merrell, aka
Thomas C. James, aka Carl Avery Martell, CHARLES HARRISON BARBEE,
and ROBERT SHERMAN BERRY, aka Jim Preston, did unlawfully transport
in interstate commerce from the state of Idaho, to the states of
Oregon and Washington, a 1996 Chevrolet Suburban, stolen from
Pocatello, Idaho, knowing the same to have been stolen, all in
violation of 18 U.S.C. § 2312.
COUNT 11
On or about October 8, 1996, in the Eastern District of
Washington and elsewhere, VERNE JAY MERRELL, aka Jay Merrell, aka
Thomas C. James, aka Carl Avery Martell, CHARLES HARRISON BARBEE,
and ROBERT SHERMAN BERRY, aka Jim Preston, did unlawfully transport
in interstate commerce from the state of Oregon, to the state of
Washington, a 1996 Ford Aerostar van, stolen from Hood River,
Oregon, knowing the same to have been stolen, all in violation of
18 U.S.C. § 2312.
COUNT 12
On or about October 8, 1996, in the Eastern District of
Washington, VERNE JAY MERRELL, aka Jay Merrell, aka Thomas C.
James, aka Carl Avery Martell, CHARLES HARRISON BARBEE, and ROBERT
SHERMAN BERRY, aka Jim Preston, did unlawfully possess unregistered
firearms, to wit, destructive devices (grenades), which firearms

had not been registered in the National Firearms Registration and

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Case 2:96-cr-00258-WFN ECFNo. 22 filed 12/05/96 PagelD.459 Page 10 of 10

Transfer Record as required by 26 U.S.C. Chapter 53,
of 26 U.S.C. §§ 5861(d) and 5871.

DATED this 5H, day of December, 1996.

A TRUE BILL

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Chee eg 04 Gee 9 2, oreman
JAMES P. CONNELLY j
“United States Attorney

JAMES B. CRUM
Assistant United States Attorney

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THOMAS O. RICE
Assistant United States Attorney

STEPHANIE J. LISTER
Assistant United States Attorney

 

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